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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10

11   N. CHARLES PICKETT,           )          NO. CV 18-8755-GW(E)
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )               JUDGMENT
                                   )
14   E. HAWKINS, ET AL.,           )
                                   )
15                  Defendants.    )
     ______________________________)
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18        IT IS ADJUDGED that the Third Amended Complaint and the action
19   are dismissed without leave to amend and with prejudice.
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22              DATED:    January 11, 2021.
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25                                                     GEORGE H. WU
                                               UNITED STATES DISTRICT JUDGE
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